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  1              DECLARATION OF SPECIAL AGENT LYNNE ZELLHART
  2         I, Special Agent Lynne Zellhart, declare as follows:
  3         1.     I am a Special Agent ("SA") with the Federal Bureau ofInvestigation (the
  4   "FBI") and have been so employed since 2004. I have participated in the investigation
  5   ofU.S Private Vaults ("USPV") and am familiar with all aspects ofthe investigation.
  6         2.     I understand that the boxholders Donald Leo Mellein and Paula Margarita
  7   Villegas De Mellein for box number 224 have asserted that 110 gold coins were situated
  8   within that box. However, the FBI only found 47 gold coins within box number 224.
  9   The FBI is in the process ofretuming the 47 gold coins found within box number 224.
 10         I declare under penalty ofperjury under the laws ofthe United States of America
 11   that the foregoing is true and c01rect and that this declaration is executed at Los Angeles,



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 12   Calif01nia, on December _/, 2021. ·
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